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                                            5   Attorneys for Defendant
                                                VANIK MOVSESYAN
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                                            8                                   IN THE UNITED STATES DISTRICT COURT

                                            9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10
                                                                                                      ) Case No. 2:15-CR-00236-GEB
                                           11   UNITED STATES OF AMERICA,                             )
                                                                                                      ) STIPULATION AND [PROPOSED]
                                           12                      Plaintiff,                         ) ORDER
                                                                                                      )
               S ACRAMENTO , C ALIFORNIA




                                           13              v.                                         )
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                                      )
                                           14   VANIK MOVSESYAN,                                      )
                                                                                                      )
                                           15                      Defendant.                         )

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                                           17              Plaintiff United States of America, by and through its counsel of record, Assistant United
                                           18   States Attorney Jeremy J. Kelley, and defendant Vanik Movsesyan, by and through his counsel of
                                           19   record Kresta Daly, hereby stipulate as follows:
                                           20         1.   By previous order sentencing in this case was set for February 16, 2018;
                                           21         2.   The defense wishes to re-set the sentencing date in this case. The government does not
                                           22              object to this request.
                                           23         3.   The parties have agreed on April 27, 2018 as the new sentencing date.
                                           24         4.   Probation is aware of this request and does not object.
                                           25         5. The parties request the Court vacate the February 16, 2018 hearing date.
                                           26   ///
                                           27   ///
                                           28

                                                {00023574}
                                                STIPULATION AND [PROPOSED] ORDER                  1                             [Case No. 2:15-CR-00236-GEB]
                                                  Case 2:15-cr-00236-JAM Document 117 Filed 12/18/17 Page 2 of 2


                                            1   Dated: December 13, 2017.          By:      /s/ Jeremy J. Kelley
                                                                                     JEREMY J. KELLEY
                                            2                                        Assistant United States Attorney

                                            3   Dated: December 13, 2017.            BARTH DALY LLP

                                            4                                      By:      /s/ Kresta Nora Daly
                                                                                     KRESTA NORA DALY
                                            5                                        Attorney for VANIK MOVSESYAN

                                            6

                                            7                                        ORDER

                                            8           It is so ordered.

                                            9           Dated: December 15, 2017

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               S ACRAMENTO , C ALIFORNIA




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B ARTH D ALY LLP
                   A TTORNEYS A T L AW




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                                                {00023574}
                                                STIPULATION AND [PROPOSED] ORDER        2                           [Case No. 2:15-CR-00236-GEB]
